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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

JAMES DERSAM,                                                                       PLAINTIFF
ADC #662736

VS.                                4:20-cv-00816-BRW-JJV

ALISA MAYS,
Food Service Supervisor, Pine Bluff Unit, ADC                                     DEFENDANT



                                         JUDGMENT

       Based on the Order entered today, this case is dismissed without prejudice. I certify that

an in forma pauperis appeal would not be taken in good faith.1

       IT IS SO ORDERED this 21st day of October, 2020.



                                                    ]Billy Roy Wilson ___________
                                                    UNITED STATES DISTRICT JUDGE




1
    28 U.S.C. § 1915(a)(3).
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